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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


 UNITED STATES OF AMERICA,

                      Plaintiff,                        CRIMINAL CASE NO.:

 vs.                                                      1:19-CR-00297-ELR-2

 JULIE CHRISLEY,
                       Defendant.


                   WRIT OF HABEAS CORPUS AD PROSEQUENDUM

To:    Any U.S. Marshal, Warden, FMC Lexington and/or any other authorized officer.


       YOU ARE HEREBY COMMANDED to have the body of JULIE CHRISLEY by you

restrained of her liberty, as it is said, by whatsoever names detained before the Honorable

Eleanor L. Ross, United States District Judge of the United States District Court for the

Northern District of Georgia, at the Courtroom of said Court in the City of Atlanta, at 10:00 am,

on September 25, 2024, and from day to day thereafter until discharged by the Court, then and

there to be sentenced and receive and abide by the judgment of this Court in the above-entitled

case, thence to be returned to the custody from which she came, and have you this writ.

       WITNESS the Honorable Judges of the United States District Court for the Northern

District of Georgia, this 7th day of August, 2024.




                                               UNITED STATES DISTRICT JUDGE

cc: Clerk's Office, AUSA, USPO and Defense Counsel
